                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff,           )
                                           )
v.                                         )       Case No. 4:13-CR-00291-07-BCW
                                           )
WILLIAM F. PARRY,                          )
                                           )
                      Defendant.           )

                                           ORDER

       Before the Court is Magistrate Judge Sarah W. Hays’ Report and Recommendation (Doc.

#259) denying Defendant William F. Parry’s Motion to Dismiss (Doc. #197). Defendant

objected to the Report and Recommendation (Doc. #266), and the Government responded to his

objections (Doc. #272). After an independent review of the record, the applicable law, and the

parties’ arguments, the Court adopts Magistrate Judge Hays’ findings of fact and conclusions of

law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #259),

William F. Parry’s Motion to Dismiss (Doc. #197) is DENIED. It is further

       ORDERED that Magistrate Judge Hays’ Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.

DATED: February 13, 2015                           /s/ Brian C. Wimes
                                                   JUDGE BRIAN C. WIMES
                                                   UNITED STATES DISTRICT COURT




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